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 August 10, 2017

 VIA ECF AND ELECTRONIC MAIL

 Honorable Freda L. Wolfson, U.S.D.J.
 United States District Court
 Clarkson S. Fisher Building & US Courthouse
 402 East State Street
 Trenton, NJ 08608

 Honorable Lois H. Goodman, U.S.M.J.
 United States District Court
 Clarkson S. Fisher Building & US Courthouse
 402 East State Street
 Trenton, NJ 08608

        Re:     In re: Johnson & Johnson Talcum Powder Products Marketing, Sales Practices
                and Products Liability Litigation
                MDL No. 2738

 Dear Judge Wolfson and Judge Goodman:

          Plaintiffs are in receipt of Defendants Johnson & Johnson and Johnson Consumer, Inc.’s
 letter to the Court, dated August 9, 2017. Without filing a formal motion, or even articulating the
 appropriate legal standards, Defendants request that the Court enjoin all parties in all talc-related
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 actions in all federal and state proceedings (including cases involving mesothelioma and other
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 injuries) from any efforts to obtain samples of its Baby Powder and Shower-to-Shower products.
 The unsubstantiated request is contrary to the law, and any action by the Court regarding samples
 of Defendants’ products would be premature at this time.

         Plaintiffs in this MDL have not yet requested the production of samples. However,
 Plaintiffs anticipate that the testing of samples will be required and have so indicated to
 Defendants. Plaintiffs are discussing this issue with their experts, but decisions have not yet been
 made regarding, inter alia, the types of testing to be performed, the number of tests necessary, or
 the amount of product per sample that will be required.

         Kat Frazier, counsel for Defendants, contacted the undersigned and represented that there
 was a state court mesothelioma case in which samples had been requested. As the undersigned
 conveyed to Ms. Frazier, Plaintiffs’ counsel is not involved in that proceeding. Plaintiffs’ counsel
 is not familiar with the requests for samples that have been made in that proceeding. Plaintiffs’
 counsel is not aware of the procedural posture of the case or any motion practice that may be
 ongoing in relation to requests for samples.
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         Defendants suggest that this matter regarding product samples is urgent because it relates
 to the “fair allocation among thousands of litigants.” Defendants allude to the possibility that
 individual plaintiffs in the MDL would be required to conduct their own testing of samples. This
 is simply not the case. Any testing that may ultimately be conducted by the Plaintiff’s Steering
 Committee would be undertaken for the benefit of all plaintiffs with cases pending in the MDL,
 consistent with the purpose of creating an MDL and appointing a Plaintiff’s Steering Committee.

        Defendants suggest that there will be a “nationwide rush for first-come, first-served orders”
 for production of samples and destructive testing. Defendants have made no showing as to any
 requests that are pending, other than one request in an unspecified state court proceeding that does
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 not involve ovarian cancer. Defendants have made no showing that the contemplated testing is
 destructive.

        Defendants have put forth no evidence to establish the inventory of the product samples
 available for testing. Defendants have put forth no evidence of the size of the individual samples.
 Defendant have put forth no evidence regarding the sources of the talc contained in the product
 samples. In their letter, Defendants reference their Baby Powder product, but fail to mention their
 Shower-to-Shower product.

         In order Plaintiffs to have adequate information to formulate requests regarding samples,
 Defendants should produce evidence and information regarding the samples that are available, the
 source of the talc in the sample products, the manufacturing date, the amount of material available
 in the sample, information regarding the storage of the sample, and the results of any testing
 previously performed on the sample. The attached exhibits to this letter suggest that the
 information contained in Defendants’ letter is either inaccurate, or at best, incomplete. See Exs. A
 and B (submitted in camera). A 30(b)(6) deposition may be necessary to address the discrepancies.

         Defendants’ letter is an improper, unsubstantiated, All Writs Act-type effort to enjoin all
 federal and state court proceedings involving their talcum powder products. Not only is a letter an
 inappropriate procedural vehicle for seeking such relief, Defendants fail to meet the high burden
 of establishing that such extraordinary relief is warranted. As Plaintiff’s counsel conveyed to Ms.
 Frazier during the brief call prior to this letter being filed, this issue is not properly before the Court
 and a conference call with the Court on the issue at this time would be premature. 1              P0F




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   The Plaintiffs’ Steering Committee reserves the right to file a fulsome substantive opposition if Defendants should
 file a formal motion.
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 Honorable Lois H. Goodman, U.S.M.J.
 August 10, 2017
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                                     Respectfully submitted,
                                     BEASLEY, ALLEN, CROW, METHVIN,
                                     PORTIS & MILES, P.C.

                                     /s/ P. Leigh O’Dell

                                     P. Leigh O’Dell
                                     Co-Lead Counsel


 cc:   Michelle A. Parfitt, Co-Lead Counsel.
       Christopher M. Placitella, Plaintiffs’ Liaison Counsel
       Plaintiffs’ Steering Committee
       All Counsel of Record via ECF
       Susan M. Sharko (via ECF and Electronic mail)
       Julie Tersigni (via ECF and Electronic mail)
